Case 1:20-cv-02573-ALC Document 4 Filed 03/25/20 Page 1 of 1

16 USC 1855(3)(A) Summons IH form 5
4/17

 

UNITED STATES DISTRICT COURT
for the

Southern District of New York
ARNOLD M. GOLDEN III, on behalf of himself and all
others similarly situated,

 

 

)
Plaintiff )
)
v ) Civil Action No, 20-Cv-2573
Popular, Inc. )
)
Defendant )
SUMMONS IN A CIVIL ACTION
To: (Defendant’s name and address)
Popular, Inc.

85 Broad Street
New York, New York 10004

A lawsuit has been filed against you.

Within 45 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Michael R. Reese
REESE LLP

100 West 93rd Street, 16th Floor
New York, New York 10025

If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
